         Case 4:16-cv-00059-KGB Document 11 Filed 08/09/16 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

ROBIN HALL                                                                      PLAINTIFF

v.                               Case No. 4:16-cv-00059-KGB

USABLE MUTUAL INSURANCE
COMPANY, d/b/a ARKANSAS BLUE
CROSS AND BLUE SHIELD                                                         DEFENDANT

                                             ORDER

       Before the Court is plaintiff Robin Hall’s motion for voluntary dismissal. According to

the motion, the parties have reached an amicable settlement. Ms. Hall moves to dismiss with

prejudice her petition for declaratory judgment against USAble Mutual Insurance Company,

d/b/a Arkansas Blue Cross and Blue Shield (Dkt. No. 10).     The Court grants the motion and

dismisses with prejudice Ms. Hall’s petition (Dkt. No. 2).

       Dated this 9th day of August, 2016.



                                                    ________________________________
                                                    Kristine G. Baker
                                                    United States District Judge
